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My name is Adalberto Alvarez. I have been a friend of
Carlitos for several years. Approximately 5 years ago I
offered for him to live with me here in the basement
because I learned that he had nowhere to live. Honorable
judge, Carlitos is a generous and helpful person. He was
always working, sweeping, picking up the trash, cleaning.
Children adored him. Every time a kid would come he
would give him 5 or 10 dollars to go buy something. He isa
man with a very big heart, he loved helping everybody. No
one can complain about him here because he had a

wonderful heart.

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He was very fond of my mother and would always
talk with her. A woman who lives in one of these buildings
was very poor and needed a bed. Carlitos found out about
this and without telling anyone he went and bought a bed
for the woman. He was that generous.

He gave me a bicycle, a cell phone, he would send money to
my mother because he was very fond of my mother.
Carlitos is a beautiful person.

I pray to God for Carlitos to get out soon and once he
does, I will take care of him. I will make sure that he takes
vitamins so he recovers his mind, I’m going to make sure
that he eats well and sleeps well. I will take him to church

and

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we’re going to buy a small car for ourselves to go visit
churches and help others. Please have mercy of Carlitos
because he is a very kind person.

/s/ Adalberto Alvarez

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